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UNITED STATES OF AN|ER|CA

 
 

_v. 2:05cn20170-01-B ray j Q§__Cg;j,qj

BEN|TA ROGERS
Leslie Ballin, Retained
Defense Attorney
200 Jefferson Avenue, Suite 1250
llllemphis, TN

 

JUDGN|ENT |N A CRlMlNAL CASE
(For Oftenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on Nlay 05, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Titie & section NMLO_"€_"SQ Offense N_um_lw£(§t
Concluded
18 U.S.C. § 641 Theft of Property 04/26/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the l\/landatory
Victims Ftestitution Act of 1996

lT lS FURTHER OFtDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date 01 Birth: 08/08/1973 August 11, 2005
Deft’s U.S. l\/larshal No.: 19808-076

Defendant's lVlailing Address:
6455 lV|oriah Ftoad
APT 205

iviemphis, TN 38115 DM&

J. DANlEL BREEN
U|TED STATES DlSTRiCT JUDGE

August ll , 2005

Thls document entered on the docket sheet in ccmpilan c
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PROBATION

The defendant is hereby placed on probation for a term of 18 lVlonths.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine ora
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance, The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohot and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Officer.

2. The defendant shall provide the Probation Officer access to any requested financial
information.

3. The defendant shall cooperate with DNA coi|ection as directed by the Probation Officer.

CR|M|NAL lVlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00
The Special Assessment shall be due immediately

F|NE
No fine imposedl

REST|TUT|ON
No Fiestitution was ordered.

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20170 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Leslie I. Ballin

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Ste. 1250

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

